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 Counsel for Plaintiffs and Co-Lead Trial
 Counsel


                IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                                        CASE NO. 3:15-md-02626-HES-JRK
 IN RE: DISPOSABLE CONTACT
 LENS ANTITRUST LITIGATION              NOTICE OF CHANGE OF ADDRESS
                                        HULETT HARPER STEWART LLP
                                        JUDGE: Harvey E. Schlesinger


 THIS DOCUMENT RELATES TO:
 All actions.
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       TO THE CLERK OF THE COURT, ALL PARTIES AND THEIR
 ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that as of August 1, 2018 Hulett Harper Stewart
 LLP counsel for plaintiffs and co-lead trial counsel, relocated its office. The new
 address of Hulett Harper Stewart LLP is: 1262 Kettner Boulevard, Suite 1803, San
 Diego, California 92101.     The firm’s telephone number remains the same:
 telephone (619) 338-1133.        Any and all pleadings, notices, documents,
 correspondence and other information regarding this action should be sent to the
 above address.
                                          Respectfully submitted,
 DATED: August 2, 2018                    HULETT HARPER STEWART LLP
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                                          _/s/Dennis Stewart_____________
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                              PROOF OF SERVICE
                 In re Disposable Contact Lens Antitrust Litigation
                        CASE NO: 3:15-md-026 HES-JRK

       I, the undersigned, declare under penalty of perjury that I am over the age of
 eighteen years and not a party to this action. I am employed in the County of San
 Diego, State of California. My business address is: 1262 Kettner Blvd., Suite
 1803, San Diego, CA 92101.

       That on August 2, 2018, I served the following document(s) entitled:
       NOTICE OF CHANGE OF ADDRESS

 on ALL INTERESTED PARTIES in this action.

      BY CM/ECF Electronic Service: I caused such document to be served via
       the Court’s (NEF) electronic filing system on all registered parties.

       I declare under penalty of perjury under the laws of the United States that
 the foregoing is true and correct. Executed on August 2, 2018, at San Diego,
 California.

                                       /s/ Dennis Stewart
                                       DENNIS STEWART
